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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                 :
Matt Tascon,                                     :
                                                 :
                      Plaintiff,                 :
       v.                                        :
                                                   Civil Action No.: 1:11-cv-11523-RWZ
                                                 :
Stevens Business Service, Inc.; and DOES 1-      :
10, inclusive,                                   :
                                                 :
                                                 :
                      Defendants.                :

                                   NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 30 days.


Dated: September 15, 2011

                                                  Respectfully submitted,

                                                  PLAINTIFF, Matt Tascon

                                                  /s/ Sergei Lemberg

                                                  Sergei Lemberg, Esq.
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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 15, 2011, a true and correct copy of the foregoing
Notice of Settlement was served electronically by the U.S. District Court for the District of
Massachusetts Electronic Document Filing System (ECF) and that the document is available on
the ECF system.

                                           By_/s/ Sergei Lemberg_________

                                                   Sergei Lemberg
